Case 25-40976      Doc 800      Filed 06/18/25 Entered 06/18/25 06:17:08            Main Document
                                            Pg 1 of 5


                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


 In re:                                               Case No. 25-40976-357

 23andMe Holding Co., et al.,                         Chapter 11

                                Debtors.              (Jointly Administered)

                                                      Related Dkt. Nos.: 771, 772, 773, 774, 775,
                                                      777, 778


      THE PEOPLE OF THE STATE OF CALIFORNIA’S EVIDENTIARY OBJECTIONS
       TO DECLARATIONS IN SUPPORT OF ENTRY OF DEBTORS’ SALE ORDER
          1.    The People of the State of California (People) submit the following objections to

 evidence submitted by Debtors in support of their Omnibus Reply in Support of Entry of the Sale

 Order [Dkt. No. 771]. Debtors filed their reply and supporting evidence just after midnight on

 June 17, 2025, the day before the start of the sale hearing. Given the incredibly short turnaround,

 the People reserve all rights to amend or supplement these objections at the sale hearing or as

 permitted by the Court. The People further reserve all rights to exclude or strike Debtors’

 evidence to the extent that it could or should have been submitted with Debtors’ earlier filings or

 does not respond to factual claims made by objectors.

 I.       THE PEOPLE OBJECT TO THE ENTIRETY OF THE CATE DECLARATION AS
          IMPERMISSIBLE LEGAL CONCLUSIONS THAT WILL NOT ASSIST THE COURT
          2.    Professor Fred H. Cate is a law professor and lawyer. His declaration [Dkt. No.
 772] consists almost entirely of legal conclusions and is therefore inadmissible under Federal

 Rules of Evidence 702, 704. See, e.g., S. Pine Helicopters, Inc. v. Phoenix Aviation Managers,

 Inc., 320 F.3d 838, 841 (8th Cir. 2003) (“[E]xpert testimony on legal matters is not

 admissible.”); Peterson v. City of Plymouth, 60 F.3d 469, 475 (8th Cir. 1995) (“The legal

 conclusions were for the court to make. It was an abuse of discretion to allow the testimony.”);

 United States v. Scop, 846 F.2d 135, 139 (2d Cir. 1988) (“Rule 704 was not intended to allow

 experts to offer opinions embodying legal conclusions.”).


                                                  1
Case 25-40976       Doc 800      Filed 06/18/25 Entered 06/18/25 06:17:08             Main Document
                                             Pg 2 of 5



        3.       Prof. Cate’s declaration is essentially an extended legal brief that, by its own

 terms, “review[s] and respond[s]” to the final report of the court-appointed Consumer Privacy

 Ombudsman (CPO). Cate Decl., ¶ 13. Accordingly, Prof. Cate’s declaration is necessarily full of

 legal conclusions (and argument), none of which is admissible—for example:

             •   “No CPO is required because if the sale is not inconsistent with the privacy policy

                 to which consumers agreed, Congress has concluded no privacy issues under

                 federal or state law need to be considered.” Id., ¶ 16.

             •   “It is important to remember that the Bankruptcy Code does not require that there

                 be explicit (or consistent) notice that personal data may be sold.” Id., ¶ 21.

             •   “[Congress] does not require opt-in consent for collection, use, sharing, or other

                 processing of personal data in connection with financial transactions, health

                 services or payment, credit reporting, direct marketing, or, as noted, bankruptcy.”

                 Id., ¶ 35.

        4.       Prof. Cate’s declaration includes 47 footnotes, the vast majority of which are

 citations to the Bankruptcy Code or other legal sources, including Prof. Cate’s own scholarship.

 The Court does not need expert assistance to interpret, understand, or apply the law—this “lies

 with the exclusive province of the court . . . .” Bausch & Lomb, Inc. v. Alcon Lab’ys, Inc., 79 F.

 Supp. 2d 252, 255 (W.D.N.Y. 2000). Indeed, as here, “[t]his concern is further compounded

 where the purported witness is an attorney.” Sundance, Inc. v. DeMonte Fabricating Ltd., 550

 F.3d 1356, 1365 n.8 (Fed. Cir. 2008).

        5.       For these reasons, Prof. Cate’s declaration should be excluded.

 ///




                                                   2
Case 25-40976         Doc 800   Filed 06/18/25 Entered 06/18/25 06:17:08        Main Document
                                            Pg 3 of 5


 III.   THE PEOPLE OBJECT TO PORTIONS OF THE SWIFT AND LEFKOWITZ
        DECLARATIONS
        6.      The People submit the following specific evidentiary objections to the Andrew

 Swift Declaration [Dkt. No 773]:

    Debtors’ Evidence                    People’s Objection                    Court Ruling

  Swift Decl., ¶ 6          Lacks foundation/personal knowledge. Rule 602. _____ Sustained
                                                                           _____ Overruled

  Swift Decl., ¶ 7          Lacks foundation/personal knowledge. Rule 602. _____ Sustained
                            Hearsay. Rule 801.                             _____ Overruled

  Swift Decl., ¶ 8          Lacks foundation/personal knowledge. Rule 602. _____ Sustained
                                                                           _____ Overruled

  Swift Decl., ¶ 9          Lacks foundation/personal knowledge. Rule 602. _____ Sustained
                            Hearsay. Rule 801.                             _____ Overruled

  Swift Decl., ¶ 11         Lacks foundation/personal knowledge. Rule 602. _____ Sustained
                            Hearsay. Rule 801.                             _____ Overruled

  Swift Decl., ¶ 24         Lacks foundation/personal knowledge. Rule 602. _____ Sustained
                                                                           _____ Overruled

  Swift Decl., ¶ 27         Lacks foundation/personal knowledge. Rule 602. _____ Sustained
                                                                           _____ Overruled

  Swift Decl., ¶ 32         Lacks foundation/personal knowledge. Rule 602. _____ Sustained
                                                                           _____ Overruled

  Swift Decl., ¶ 38         Lacks foundation/personal knowledge. Rule 602. _____ Sustained
                                                                           _____ Overruled

  Swift Decl., ¶ 39         Lacks foundation/personal knowledge. Rule 602. _____ Sustained
                            Irrelevant (improper legal argument). Rules 401, _____ Overruled
                            402.

 ///




                                                3
Case 25-40976       Doc 800     Filed 06/18/25 Entered 06/18/25 06:17:08             Main Document
                                            Pg 4 of 5



        7.      The People submit the following specific evidentiary objections to the Peter

 Lefkowitz Declaration [Dkt. No 774]:

   Debtors’ Evidence                       People’s Objection                      Court Ruling

  Lefkowitz Decl., ¶ 38     Lacks foundation/personal knowledge. Rule 602. _____ Sustained
                            Irrelevant (improper legal argument). Rules 401, _____ Overruled
                            402.

  Lefkowitz Decl., ¶ 39     Lacks foundation/personal knowledge. Rule 602. _____ Sustained
                            Hearsay. Rule 801.                               _____ Overruled
                            Irrelevant (improper legal argument). Rules 401,
                            402.



                                          CONCLUSION
        8.      The People respectfully request that the Court sustain these evidentiary

 objections, in addition to those raised by the People at the sale hearing or as the Court permits.

 Dated: June 18, 2025                             Respectfully submitted,

                                                  Rob Bonta
                                                  Attorney General
                                                  Nicklas A. Akers
                                                  Senior Assistant Attorney General

                                                  /s/ Bernard A. Eskandari
                                                  Bernard A. Eskandari #244395CA
                                                  Stacey D. Schesser #245735CA
                                                  Supervising Deputy Attorneys General
                                                  Yen P. Nguyen #239095CA
                                                  Daniel M.B. Nadal #299661CA
                                                  Deputy Attorneys General
                                                  CALIFORNIA DEPARTMENT OF JUSTICE
                                                  455 Golden Gate Ave., Ste. 11000
                                                  San Francisco, California 94102
                                                  Telephone: (415) 510-3497
                                                  Facsimile:     (916) 731-2146
                                                  Email:         bernard.eskandari@doj.ca.gov
                                                                 stacey.schesser@doj.ca.gov
                                                                 titi.nguyen@doj.ca.gov
                                                                 daniel.nadal@doj.ca.gov

                                                  Counsel for the People of the State of California



                                                   4
Case 25-40976      Doc 800     Filed 06/18/25 Entered 06/18/25 06:17:08           Main Document
                                           Pg 5 of 5


                                 CERTIFICATE OF SERVICE

        The undersigned certifies that on June 18, 2025, a true and correct copy of the foregoing
 document was filed with the Clerk of the United States Bankruptcy Court for the Eastern District
 of Missouri and was served on the parties registered to receive electronic notice via the Court’s
 CM/ECF System.

                                                /s/ Bernard A. Eskandari
                                                An Attorney for the People of the State of
                                                California




                                                 5
